






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00424-CV






Texas Society of Professional Engineers and James R. Winton, P.E., Appellants


v.



Texas Board of Architectural Examiners and Cathy Hendricks, Executive Director,
Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 419TH JUDICIAL DISTRICT

NO. D-1-GN-07-001843, HONORABLE GISELA D. TRIANA-DOYAL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



	This appeal was abated pending settlement negotiations.  Appellants have filed an
unopposed motion to dismiss appeal.  Accordingly, we reinstate the appeal, grant appellants'
motion, and dismiss the appeal.  See Tex. R. App. P. 42.1. 


					__________________________________________

					Melissa Goodwin, Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Dismissed on Appellants' Motion

Filed:   August 28, 2012


